
Johnston, Judge.
I am of opinion that the action is proper, and that judgment should be entered for the plaintiff.
Taylor, Judge.
It does not appear from the verdict, whether the action was founded upon an express or implied assumpsit: Upon the former I conceive the action was always maintainable, 1 Roll. Abr. 8; and there is an authority in 3 Mod. 73, which warrants the opinion that an assumpsit will lie on an implied promise for rent. The reason given for exclusively using the action of debt to recover rent, is quite technical and insufficient to overturn the established practice of the country, which is founded in justice and convenience. Many recoveries had been had in such cases upon implied promise, and this objection hath not to my knowledge ever prevailed—there ought to be judgment for the plaintiff.
Macay, Judge
Upon the verdict in this case, the plaintiff ought to have judgment.
Judgment for Plaintiff.
